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Counsel to the Estate of Henry S. Moyer, Jr. and
Nancy Moyer, individually and as personal
representative of the Estate of Henry S. Moyer, Jr.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                           Chapter 7
THE MOYER GROUP, INC.,                                     Case No. 16-10261 (MG)
                                       Debtor.

JOHN S. PEREIRA, Chapter 7 Trustee for the
estate of The Moyer Group, Inc.,
                                                           Adv. No. 18-01011 (MG)

                                       Plaintiff,
                  v.

FRENKEL BENEFITS, LLC, ROBERT
ROGERS, THE ESTATE OF HENRY S.
MOYER, JR., NANCY MOYER,
INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
HENRY S. MOYER, JR. AND LISA SAEZ
A/K/A LISA SAEZ-WOLCHUCK,


                                         Defendants.

                     NOTICE OF APPEARANCE AND REQUEST FOR
                    SERVICE OF ALL PLEADINGS AND DOCUMENTS

         PLEASE TAKE NOTICE that M. Elias Berman of the law firm McDermott Will &

 Emery LLP hereby appears as counsel to the Estate of Henry S. Moyer, Jr. and Nancy Moyer,

 individually and as personal representative of the Estate of Henry S. Moyer, Jr., Defendants in
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this adversary proceeding and request, pursuant to Rules 9007 and 9010(b) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), that copies of all notices given or required to

be given, and all papers served or required to be served in this adversary proceeding, be given to

and served upon the following:

                               Timothy W. Walsh, Esq.
                               M. Elias Berman, Esq.
                               MCDERMOTT WILL & EMERY LLP
                               340 Madison Avenue
                               New York, New York 10173
                               Telephone: (212) 547-5400
                               Facsimile: (212) 547-5444
                               Email: Twwalsh@mwe.com
                               Email: Eberman@mwe.com


       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Bankruptcy Rules specified above, but also includes,

without limitation, notices of any application, complaint, demand, hearing, motion, petition,

order, pleading or other request, whether formal or informal, whether written or oral and whether

transmitted or conveyed by mail, hand delivery, telephone, electronic mail or otherwise, that is

filed or given in connection with the above-captioned proceeding.

       PLEASE TAKE FURTHER NOTICE that this request shall not be deemed or

construed to be a waiver of any substantive or procedural rights of the Estate of Henry S. Moyer,

Jr. and Nancy Moyer, individually and as personal representative of the Estate of Henry S.

Moyer, Jr., Defendants, including, without limitation: (i) to have final orders in non-core matters

entered only after de novo review by the United States District Court for the Southern District of

New York (the “District Court”); (ii) to have a trial by jury in any proceeding so triable in this

chapter 7 case or any case, controversy, or proceeding related to this chapter 7 case; (iii) to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; or (iv) any other rights, claims, actions, defenses, setoffs or recoupments to which
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the Estate of Henry S. Moyer, Jr. and Nancy Moyer, individually and as personal representative

of the Estate of Henry S. Moyer, Jr., Defendants may be entitled under agreements, in law, in

equity, or otherwise, all of which rights, claims, actions, defenses, setoffs and recoupments are

expressly reserved.

Dated: New York, New York
       June 25, 2018                          MCDERMOTT WILL & EMERY LLP

                                                /s/ M. Elias Berman
                                              Timothy W. Walsh, Esq.
                                              M. Elias Berman, Esq.
                                              340 Madison Avenue
                                              New York, New York 10173-1922
                                              Telephone: (212) 547-5400
                                              Facsimile: (212) 547-5444

                                               Counsel to the Estate of Henry S. Moyer, Jr. and
                                               Nancy Moyer, individually and as personal
                                               representative of the Estate of Henry S. Moyer, Jr.




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